              Case 3:20-cv-01747-CVR Document 1-2 Filed 12/24/20 Page 1 of 1                            EXHIBIT 2




                                                                                December 18, 2020

THROUGH CERTIFIED MAIL AND ELECTRONIC CORRESPONDENCE

Alan Bram Goldman
1014 Terrace St
Montpelier, VT 05602
T: 802-229-1236
email: goldiefun@msn.com

Re: Confirmation of Closing

Dear Mr. Goldman,

        We represent Teal Peak Capital LLC (“TPC”) with respect to certain purchase of your real estate
property located in The Estates, Dorado (Puerto Rico) (the “Property”). As you are well aware, TPC has
complied with all of its obligations under the Option to Purchase Agreement, executed on October 23, 2020
(the “Option”). Pursuant to the Option and conditioned on TPC providing a total deposit of $800,000.00 USD,
you agreed to close and sell the Property no later than December 23, 2020 (the “Closing Date”). As you can
imagine, our clients are eager to finalize this transaction, especially with the Christmas holidays coming around
the corner.
        To date, all necessary parties to finalize the transaction have confirmed. Namely, TPC approved the
settlement and confirmed for the Closing Date by electronic communication on December 11, 2020; the closing
agent (Ms. Donato) confirmed the readiness of all required documents and summaries by electronic
communication on December 11, 2020; and Attorney Miguel Carbonell (the notary) confirmed his readiness
on the same date. In other words, the funds are ready, our clients are ready, the balance sheet is approved, and
the notary has his stamp and ink ready to go.
        Please confirm that you, through the corresponding power of attorney, will be ready for the Closing
Date, and that TPC, alongside the respective attorneys and notaries, will be able to finalize the transaction for
the purchase of the Property on or before the Closing Date. Be aware that if the terms of the Option are not
met, and our clients cannot close on the Closing Date for reasons not attributable to them, we will not be shy
in exercising all legal options at our disposal.
        We look forward to your written confirmation at your earliest convenience.

                                                Best,

                                                Jean G. Vidal Font




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